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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK


          MARK OWEN, Individually and On Behalf
          of All Others Similarly Situated,                     Index No. 650628/2019
                                                                Hon. Marcy S. Friedman
                                            Plaintiffs,
                                 v.                             CLASS ACTION

          ELASTOS FOUNDATION, FENG HAN                          COMPLAINT FOR VIOLATIONS OF
          “AKA SUNNY FENG HAN,” RONG                            FEDERAL SECURITIES LAWS
          CHEN, FAY LI, ZACH WARSAVAGE,
          STEVEN S. NAM, LEE WILSON, BEN
          LEE, HBUS HOLDCO INC. and HUOBI
          GLOBAL LIMITED,
                                            Defendants.


                Plaintiffs Mark Owen and James Wandling (“Plaintiffs”), individually and on behalf of

         all other persons similarly situated, by and through their undersigned counsel, bring this Class

         Action Complaint against Defendants Elastos Foundation (“Elastos” or “ELA”), Rong Chen,

         Feng Han (a/k/a Sunny Feng Han), Fay Li, and Ben Lee (“Defendants”), and allege the

         following upon personal knowledge as to themselves and their own acts, and, as to all other

         matters, upon information and belief, including the independent investigation of Plaintiffs’

         counsel.

         I.     NATURE AND SUMMARY OF THE ACTION

                1.      Plaintiffs bring this action on behalf of themselves and all other similarly situated

          investors against Defendants for their violations of §§ 5, 12(a)(1), and 15 of the Securities Act

          of 1933 (the “Securities Act”). 15 U.S.C. §§ 77e, 77l(a)(1), 77o(a). Specifically, in connection

          with the Elastos Initial Coin Offering (the “Elastos ICO”), Defendants raised between $94

          million and more than $200 million in digital cryptocurrencies by offering and selling

          unregistered securities in the form of ELA tokens (“ELA Tokens”), in direct violation of the




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          Securities Act. Subsequent to the completion of the Elastos ICO, Defendants continued to

          violate the Securities Act by actively offering, and soliciting purchases of, ELA Tokens on the

          secondary market.

                2.      The Elastos ICO was an offer and sale of securities. Defendants’ own offering

          documentation states that the sale of ELA Tokens is a form of “Private & Public

          Crowdfunding” and purchasers of ELA Tokens would become part of the Elastos “investor

          community” (emphasis added). Defendants also promoted the sale of ELA Tokens by

          promising that they were “intrinsic” to accessing and participating in the “new internet of

          wealth” that Elastos was purportedly developing, and were limited in supply, and therefore

          would increase in value. Additionally, Defendants created a sense of urgency for investors to

          capitalize on the potential of the investment, and continued to do so after the ELA Tokens

          began to trade on the secondary market.

                3.      Thousands of investors participated in the Elastos ICO by purchasing ELA

          Tokens. Defendants conducted the ICO between January 1, 2018 and January 31, 2018,

          approximately. Elastos delivered the tokens to investors on January 31, 2018. On February 1,

          2018, ELA was listed on the Huobi Exchange.

                4.      After the Elastos ICO, Defendants continued to participate in the offer and sale of

          ELA Tokens by offering, and soliciting the purchase of, ELA Tokens through an intensive

          marketing campaign that included social media postings, internal and third-party public

          relations efforts, and participation in various investor events in the United States.

                5.      On July 18, 2018, Elastos Tokens were listed on the KuCoin cryptocurrency

          exchange. Elastos Tokens also became available for purchase on at least four other

          cryptocurrency exchanges since the Elastos ICO: LBank, Hadax, Bit-Z, and Netcoins. In



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          addition to the thousands of investors that participated in the Elastos ICO, thousands of other

          investors purchased ELA Tokens on the secondary market.

                6.      The Securities Act’s registration requirements are designed to protect investors by

          ensuring that they are provided with adequate information upon which to base their investment

          decisions. Absent registration and approval by the Securities and Exchange Commission

          (“SEC”), issuers of securities are able to improperly tout their investments with no supervision.

          For example, an issuer could withhold information that would be important to potential

          investors, or promote its securities by exaggerating the progress of its products or business plan.

                7.      Due to the varied and innumerable schemes through which investors can be

          manipulated and harmed absent any protections under the federal securities laws, § 12(a)(1) of

          the Securities Act provides for strict liability against any person who offers or sells an

          unregistered security, unless a registration exemption applies. The Elastos ICO, and the

          subsequent solicitations of purchases of ELA Tokens on the secondary market, are offers and

          sales of unregistered securities by Defendants without an exemption, and Defendants are strictly

          liable under the Securities Act.

                8.      Proof of Defendants’ intent or deceptive conduct is not required nor is it an

          element of Plaintiffs’ claims. Plaintiffs, on behalf of themselves and the Class, seek

          compensatory and rescissory relief, providing rescission and repayment of all investments in the

          Elastos ICO and ELA Tokens.

          II.   JURISDICTION AND VENUE

                9.        The claims alleged herein arise under §§ 5, 12(a)(1), and 15 of the Securities

          Act. Jurisdiction is conferred by, and venue is proper pursuant to, § 22 of the Securities Act,

          which states that “[e]xcept as provided in Section 16(c), no case arising under this Act and



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          brought in any State court of competent jurisdiction shall be removed to any court of the United

          States.”     Section 16(c) is not applicable to this action. Section 16(c) applies to “covered class

          actions,” which are defined as lawsuits brought as class actions or brought on behalf of more

          than 50 persons asserting claims under state statutory or common law. This action does not

          assert state statutory or common law claims and is brought only pursuant to the Securities Act.

          Consequently, this action is not a “covered class action” under § 16 and is not removable to

          federal court. The Supreme Court has recently held that actions such as this one are not

          removable. See Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 138 S.Ct. 1061, 1065 (2018).

                 10.      The Court has personal jurisdiction over each of the Defendants under NY CPLR

          §§ 301 and 302. Defendants conducted business in this County, including the sale and offering

          of ELA Tokens during the Elastos ICO and thereafter. Additionally, each Defendant either

          conducts business and maintains operations in New York City, or is an individual who either is

          present in New York City for jurisdictional purposes, or has sufficient minimum contacts with

          New York City as to render the exercise of jurisdiction by this Court permissible under

          traditional notions of fair play and substantial justice.

         III.    PARTIES

                 11.      Plaintiff Mark Owen (“Owen”) is an individual and resident of New York. On or

         about September 28, 2018, Owen invested in ELA by purchasing ELA Tokens on the Huobi

         Exchange. Defendants offered ELA Tokens and solicited Owen’s purchase.

                 12.      Additional plaintiff James Wandling (“Wandling”) is an individual and resident of

         Kentucky. Wandling purchased ELA Tokens in the Elastos ICO from ELA with cryptocurrency.

         During the Elastos ICO, Elastos repeatedly informed Wandling that Elastos would deliver the




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         tokens by February 1, 2018. Elastos delivered the ELA Tokens to Wandling on January 31,

         2018.

                 13.    On or about February 14, 2018, Wandling elected to participate in a token lock-in

         program developed by Elastos. Under the terms of the program, investors agreed not to sell their

         tokens for a pre-specified amount of time in exchange for accruing interest in the form of

         additional ELA Tokens. Wandling agreed not to sell his ELA Tokens for 3 years. On November

         5, 2018, Elastos delivered additional ELA Tokens to Wandling for payment of accrued interest.

         This delivery constituted an additional sale of unregistered securities.

                 14.    Defendant Elastos is purportedly registered in Singapore, and has its primary

         offices in Shanghai and Beijing, China. The Defendants, including Elastos, broadly used U.S.-

         based social media platforms to engage in their illegal activities perpetrated throughout the entire

         United States, including New York City, as described herein.

                 15.    Defendant Rong Chen (“Chen”) is the Co-Founder and Executive Chairman of

         the Elastos Foundation. Chen has conducted business and promoted the offer and sale of ELA

         Tokens throughout the U.S., including New York City. At all times relevant to the complaint,

         Chen acted as a control person of Elastos by virtue of his role as a key senior management

         executive and decision maker.

                 16.    Defendant Feng Han (“Han”) is a Co-Founder, CEO, and Board Member of the

         Elastos Foundation. Han has conducted business and promoted the offer and sale of ELA

         Tokens throughout the U.S., including New York City. At all times relevant to the complaint,

         Han acted as a control person of Elastos by virtue of his role as a key senior management

         executive and decision maker.




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                   17.      Defendant Fay Li (“Li”), at all times relevant to the complaint, was the Chief

         Marketing Officer for the Elastos Foundation. Li has conducted business and promoted the offer

         and sale of ELA Tokens throughout the U.S., including New York City. At all times relevant to

         the complaint, Li acted as a control person of Elastos by virtue of her role as a key senior

         management executive and decision maker.

                   18.      Defendant Ben Lee (“Lee”) is a Board Member and Chief Operating Officer

          (“COO”) of Elastos. Lee has conducted business and promoted the offer and sale of ELA

          Tokens throughout the U.S., including New York City. At all times relevant to the complaint,

          Lee acted as a control person of Elastos by virtue of his role as a key senior management

          executive and decision maker.

         IV.       FACTUAL ALLEGATIONS

                         A. Background on Elastos

                   19.      Elastos purportedly seeks to “create a new kind of Internet, powered by

         blockchain technology” where users will be able to “own digital assets” such as digital books,

         movies, music, and games, and “generate wealth from them.” Users will be able to own, buy,

         and sell digital property without middlemen like Amazon or Apple, in the same manner that

         property is sold outside of the internet. Elastos claims that it will leverage blockchain

         technology to ensure digital assets are not compromised and to ensure transactions are safe and

         secure.

                   20.      Elastos markets itself as the “smartweb powered by blockchain.” The

         “smartweb” refers to a web of apps that are decentralized. That is, they can connect with each

         other, but do not connect with the internet. This will purportedly allow transactions of digital

         property without middlemen and without risk of that data being compromised by a third-party.



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                21.      According to Elastos, “The Elastos Web will be a special economic zone where

         Elastos tokens function as the base currency.” Defendants further described ELA Tokens as “the

         intrinsic token on the Elastos blockchain. It can be used for trading, investing in digital assets,

         paying for blockchain processing fees and so on.”

                22.      While Elastos purports to take advantage of the new and compelling blockchain

         technology, its origins go back nearly two decades. The Elastos technology was developed by

         Elastos co-founder Chen, a former Microsoft Senior Software Engineer from 1992 to 2000.

         After leaving Microsoft he founded the software company Kortide in Beijing, China. Kortide’s

         “lead product” was the operating system Elastos SDK. Chen purports to have come up with the

         name Elastos in 2002.

                23.      In June 2017, during the height of the blockchain and cryptocurrency mania, Chen

         abandoned Kortide after 17 years to co-found Elastos with Han. Prior to co-founding Elastos,

         Han worked for 25 years as a principal at various schools in China.

                      B. Initial Elastos Investors

                24.      Merely a month after founding Elastos, Defendants Chen and Han began to solicit

         investors. In or around July or early August 2017, Elastos developed its first “White Paper”

         explaining the Elastos project. This initial Whitepaper was written entirely in Chinese and

         preceded Elastos’s “Angel Investment” sale of ELA Tokens to “founders and key partners.”

         Huobi Global Limited, was one of Elastos’s key Angel Investors.

                25.      Between August 10 and August 20, 2017, Elastos held a “private investment sale”

         in China during which it raised approximately 4,300 Bitcoins (“BTC”) and released

         approximately six million ELA Tokens. Elastos then planned to conduct a public sale only in




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         China and to only subsequently allow global investors to purchase ELA Tokens on exchanges on

         the secondary market.

                26.      However, on or about September 5, 2017, China banned all ICOs, finding that

         they constituted “illegal fundraising.” As a result, Elastos changed strategy and decided that the

         Elastos ICO would be open to anyone except Chinese citizens. In November 2017, Defendants

         Elastos, Han, and Li began to actively promote the Elastos technology on Western social media,

         including Twitter and Facebook.

                      C. The Elastos Initial Coin Offering

                27.      Because Chinese investors could no longer participate in the ICO, Elastos

         specifically targeted investors in the United States. To do so, Elastos shifted its promotional

         efforts to English speakers and Western social media in November 2017. On December 27,

         2017, Elastos admitted that it was targeting U.S. investors when it posted responses to

         “Frequently Asked Questions” from interested investors on the Elastos website and

         Medium.com. One of the questions asked, “Can US citizens buy Elastos tokens? How can I do

         that?” The response said, “Elastos Foundation adheres to [the] highest standards in many

         regulating nations across the world. We have gone through due diligence analysis from leading

         law firms in California, U.S. and we will be opening our token sale to US residents through a

         whitelist process.” A “whitelist” is a registration process whereby potential investors in an ICO

         sign up for the opportunity to purchase tokens.

                28.      Defendants promoted the ICO to potential investors though a variety of outlets,

         including the Elastos website, www.elastos.org. In or around December 2017 or January 2018,

         Elastos’s website changed from being primarily in Chinese to primarily in English. In or around

         late December 2017, Elastos posted its second White Paper (the “ICO White Paper”) to its



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         website. The English language ICO White Paper was dated January 1, 2018 and contained a

         technical description of the Elastos platform as well as an explanation of the ELA Token

         distribution plan.

                 29.     Elastos also maintained the web page tokensale.elastos.org. This page contained

         a variety of information useful for potential investors, such as a countdown clock to the opening

         of the whitelist registration; links to Elastos’s social media pages, including Twitter, Facebook,

         Reddit, and Telegram; a link to the ICO White Paper; a written “Introduction to Elastos”; a video

         explaining the Elastos platform; answers to “Token sale FAQ”; a “Roadmap” of key operational

         milestones; and a link to register for the whitelist.

                 30.     Defendants also promoted the ICO through social media outlets and platforms

         such as Twitter, Facebook, Reddit, and Telegram. Elastos’s official Twitter account,

         @Elastos_org, began promoting Elastos at least as early as November 29, 2017. Elastos’s

         official Facebook account began promoting Elastos at least as early as November 17, 2017.

                 31.     On December 27, 2017, Elastos published a press release titled, “Elastos ICO

         Offers a Cross-Platform Operating System and Public Blockchain Designed for a Smart

         Economy” on Accesswire, a U.S. based global news agency. The press release announced that

         the ICO would “launch in the first week of January 2018” and noted that “six million ELA

         tokens have been sold in China, raising nearly 4,000 bitcoins.” The press release also explained

         the Elastos platform and provided background information on Defendant Chen. Elastos included

         six contacts where potential investors could get “more information,” including the Elastos

         Investor Relations email address, the Elastos webpage, the Elastos Twitter feed, the Elastos

         Facebook page, and the Elastos Reddit page. Yahoo! Finance, among other outlets, picked up




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         and posted the press release. Elastos’s official Facebook page also posted a link to the press

         release on December 29, 2017.

                32.     Before and during the Elastos ICO, on both Twitter and Facebook, Elastos

         repeatedly posted links to the ICO White Paper, reminded its followers of dates and deadlines for

         the Elastos ICO, repeatedly urged them to sign up for the whitelist registration before it was too

         late, posted positive articles about Elastos, and promoted Defendants Chen’s and Han’s speaking

         engagements. Defendant Li also used her Twitter account to promote the Elastos ICO. During

         the month of January 2018, she posted repeated reminders about the whitelist registration and the

         ICO.

                33.     On or around January 1, 2018, Elastos opened its whitelist registration, allowing

         potential investors to sign-up for the chance to participate in the ICO. The registration period

         was set to last until January 15, 2018, or until 10,000 investors registered. On January 1, 2018,

         Defendant Li tweeted a picture of a countdown clock hosted on the Elastos website counting

         down the days, hours, minutes and seconds until the end of the whitelist registration process. In

         the tweet, Li stated “we noticed that too many people have clicked the site on the same second!

         Thanks for your support! However, please be noted [sic] this is a WHITELIST

         REGISTRATION (not yet a token sale yet [sic]), so no rush guys. TAKE YOUR TIME. Thank

         you again for your support!”

                34.     On January 3, 2018, Defendant Li created a sense of urgency by tweeting, “It’s

         the LAST chance and we only have 2 million ELAs to release, we have 9209 submissions & will

         be closing when it hits 10k (NOT 12 DAYS). Register here: Elastos.org If you believe in our

         over 10 million lines of code and 18 years of hard work.”




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                35.      Due to high investor interest, the registration closed on or around January 4,

         2018. Defendant Li tweeted, “Got 11915 submissions, thanks for everyone’s support.

         Unfortunately, we had to bring it down much earlier, apologies for those who wanted to join but

         missed it.” The price for the ICO was set at 1 Bitcoin for 800 ELA (investors could also pay

         with NEO cryptocurrency), though limits were set on the amount that could be purchased.

                36.     On January 12, 2018, after the whitelist registration closed but before investors

         could purchase ELA Tokens, Defendant Li tweeted a link to a Medium.com article that listed the

         “11 Blockchain startups to Watch in 2018” and listed Elastos as number one. In her tweet, Li

         stated, “#elastos is listed Number 1 again!” The linked article focused on the potential future

         value of blockchain companies and noted that “the blockchain industry is expected to grow to

         $20 billion by 2024,” and “the total market cap of cryptocurrencies … recently crossed $700

         billion.” The article referred to cryptocurrencies as “an asset class.”

                37.     On January 16, 2018, Li tweeted, “Emails will be sent to those who have passed

         the KYC within 24 hours. Get your BTC/NEO ready.” KYC stands for “know your customer”

         and is a process by which companies purportedly vet and verify the identities of potential

         investors.

                38.     On or around January 18, 2018, Elastos selected 5,702 individuals and 75 entities

         to participate in the first round of the token sale. At this time, investors were instructed to

         transfer either Bitcoins or NEO to a designated “contribution address” on the internet. Elastos

         then conducted two additional rounds of sales for investors who made the largest allowable

         investments in the previous rounds. Round two occurred on or around January 23, 2018, and the

         third and final round occurred on or around January 24, 2018. The transactions were not

         completed until January 31, 2018 when Elastos delivered the ELA Tokens to investors.



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                      D. Defendants Offered, and Solicited Purchases of, ELA Tokens on the
                         Secondary Market

                39.      Defendants offered, and actively solicited purchases of, ELA Tokens after the

         ICO through a sustained and intensive marketing campaign. Defendants were motivated by their

         own financial interests and/or that of the Company. Defendants offered, and solicited purchases

         of, ELA Tokens on the secondary market in hopes of increasing the number of investors and

         ultimately driving up the market price of ELA Tokens. An increase in the price of ELA Tokens

         benefitted Elastos by increasing its market capitalization, thus strengthening its financial

         position, and providing opportunities to raise additional funds in the future by conducting

         additional offerings. Defendants Chen and Han were also motivated by their own financial

         interests because, as founders, they participated in the Angel Investor sale and own large

         quantities of ELA Tokens.

                40.      On January 31, 2018, the Elastos official twitter accounted tweeted, and

         Defendant Li retweeted, an announcement that ELA would begin trading on the Huobi

         Exchange. Specifically, the tweet announced, “#elastos Airdrop & Trading Campaign. World

         Premier of #ELA at 12:00, Jan 30th (GMT+8). View Details on #HuobiPro…”

                41.      On or about February 1, 2018, ELA was listed on the secondary market on the

         Huobi Exchange and went live for trading. Immediately, Defendants ramped up their promotion

         and solicitation of purchases of ELA Tokens.

                42.      On February 4, 2018, while in New York City, Defendant Han tweeted that “[j]ust

         before the [E]lastos launch time, the price value surpass [sic] more than 250000 Bitcoin.”

                43.      Also on February 4, 2018, an Elastos supporter tweeted, and Defendant Li

         retweeted, “Elastos and $ELA showing how to run a platform. Top 10 Market Cap Project

         incoming. Still a great buy right now, but rising fast.”


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                    44.   On February 7, 2018, Defendant Li tweeted, and Defendant Han and the official

         Elastos Twitter account retweeted, a picture of an Elastos advertisement on the NASDAQ digital

         screen located in Times Square in New York City.

                    45.   On February 9, 2018, an Elastos supporter tweeted, and Defendant Li retweeted,

         “I don’t expect the price of $ELA to remain affordable much longer for the average investor.”

                    46.   On or about February 13, 2018, Elastos entered into an agreement with the

         Chicago, Illinois based business advisory firm ChinaWise to help Elastos promote and offer ELA

         Tokens to potential investors. ChinaWise purports to “help North American and Chinese

         enterprises conduct business with each other.”

                    47.   On February 13, 2018, Elastos, through ChinaWise, published a press release that

         was distributed throughout the United States including New York City, promoting Defendant

         Han’s attendance and speech at CryptoCon 2018 on February 15, 2018, in Chicago, Illinois.

         According to the press release, the conference topics included “ICOs, bitcoin mining, the socio-

         political aspects of cryptocurrency, futures trading, and cryptocurrency exchanges, as well as the

         legal, regulatory and taxation issues surrounding cryptocurrency.” The press release also noted

         that ELA Tokens (1) are “used for trading, investing in digital assets, paying processing fees,

         etc.”; (2) were listed on the Huobi Exchange; and (3) had a total market value of more than $1.7

         billion.

                    48.   On February 15, 2018, Elastos, again through ChinaWise, published a press

         release, distributed throughout the United States including New York City, promoting Defendant

         Han’s appearance at CryptoCon 2018. The press release discussed the content of Defendant

         Han’s speech, including that, “Dr. Han believes that data can and will become a wealth-

         generating asset, reinforcing that Elastos’s mission is [sic] ‘we will change data into wealth.’”



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                49.     On February 16, 2018, an Elastos supporter tweeted, and Defendant Li retweeted,

         “Volume on @Elastos_org keeps rising every day. 70M+ and it is only on ONE exchange,

         @Huobi_Pro, also the market cap is still unknown on @CoinMarketCap, this is still flying

         under the radar. Some very smart people are accumulating.”

                50.     On February 23, 2018, Defendant Han tweeted a screenshot of a line chart

         depicting the price of ELA Tokens increasing in value.

                51.     On April 2, 2018, Elastos posted the transcript of a March 19, 2018 discussion

         Defendant Chen had with a representative of an entity known as Huoxing Financial on the

         Company’s Medium.com page. During the discussion, Chen stated that “Elastos is not exactly

         Security currency, which allowed us to do an ICO in the United States around January 2nd. It

         was very successful. This was the first coin to pass the United States’ Howey Test, a public

         offering [sic] based on the legal and regulatory requirements of the United States.”

                52.     On April 4, 2018, Defendant Han tweeted a picture of himself during a speech at

         a New York University event “about Blockchain and [E]lastos at NYU.” Defendant Han

         promoted ELA at this event and attempted to gain additional investors.

                53.     On April 24, 2018, Defendant Han spoke at the 2nd Annual FinTech Conference at

         Fordham University in New York City. Defendant Han promoted ELA at this event and

         attempted to gain additional investors.

                54.     From May 4 through May 6, 2018, Elastos sponsored and participated in the 5th

         Annual “Omaha Summit.” The Omaha Summit is organized, in part, by ChinaWise and purports

         to bring Chinese and American business leaders together to discuss investment strategies and

         U.S-China relations. The summit is affiliated with investment guru Warren Buffet and his

         company Berkshire Hathaway, which has its headquarters in Omaha. Summit participants attend



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         Berkshire Hathaway’s annual shareholders meeting and Warren Buffet often participates in the

         summit. Defendants Chen and Han both attended the 2018 Omaha Summit and spoke to the

         attendees about Elastos during a VIP dinner.

                55.     On May 10, 2018, a supporter of Elastos tweeted, and Defendant Han retweeted,

         an article discussing the end of Net Neutrality. The body of the tweet states, “Another reason

         $ELA can be a great investment. @Elastos_org is a SmartWeb Powered by Blockchain”

         (emphasis added).

                56.     On May 12, 2018, Defendant Han spoke during a “meetup” at Fordham

         University in New York City. Elastos, Han, and Li all tweeted about this event on May 12,

         2018. Defendant Han promoted ELA at this event and attempted to gain additional investors.

                57.     On June 6, 2018, a supporter of Elastos tweeted, and Defendant Han retweeted,

         “The Internet of Wealth is coming. Wall Street knows it. Governments know it. Digital assets are

         the future, and blockchain enables #Elastos to complete their long-running vision. We are

         blessed to be involved so early.”

                58.     On June 18, 2018, a supporter of Elastos tweeted, and Defendant Han retweeted,

         “It’s crazy cheap now – most of my friends bought between [$]50 – [$]80 – so I wouldn’t expect

         it to go much lower. I never trust the market though, so I just load up when I think something is

         good value. $ELA @ [$]28 is incredibly cheap in my opinion.”

                59.     On July 13, 2018, Defendant Li retweeted a link to an episode of the CNBC

         Africa television program Crypto Trader, which included an interview with Defendant Chen.

         Crypto Trader bills itself as “the World’s only televised Crypto show.”

                60.     On July 16, Elastos tweeted, and Defendant Li retweeted, a link to the segment of

         the Crypto Trader episode containing Defendant Chen’s interview. At the start of the segment, a



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         graphic was displayed showing the July 13, 2018 price of ELA Tokens in U.S. dollars, the

         trading volume of ELA Tokens on that day, the “Low” and “High” price of ELA Tokens for the

         day, and the percentage increase in the ELA Token price for the day. In the interview, Chen

         touted the ELA platform.

                61.     On July 18, 2018, Elastos was listed on the cryptocurrency exchange KuCoin. On

         that day KuCoin tweeted, and Defendants Han and Li retweeted, the news of the listing.

                62.     On July 20, 2018, Defendant Li retweeted a tweet by Visionz Capital with a link

         to an 86 page research and analysis report on Elastos published by Visionz Capital. Visonz

         Capital describes itself as “an investment and research firm focused exclusively on cryptoasset

         and blockchain technology.”

                63.     On August 1, 2018, Defendant Li tweeted a link to a July 31, 2018 interview with

         Defendant Chen on Crypto 101, a popular podcast that bills itself as “the average consumer’s

         guide to cryptocurrency.” Defendant Chen discussed his background and the Elastos platform on

         the podcast.

                64.     On August 24, 2018, Elastos posted a 22 minute promotional video on YouTube

         commemorating Elastos’s one year anniversary and explaining the Elastos platform. On the

         same day, Elastos tweeted “Welcome to Elastos! #Elastos $ELA #ElastosVideo

         #ElastosOneYear” with a link to the YouTube video.

                65.     On September 23, 2018, an Elastos supporter tweeted, and Defendant Han

         retweeted, “[ELA is] [t]he most undervalued and misunderstood project.”

                66.     On September 28, 2018, based on Defendants’ offers and solicitations set forth

         above, Plaintiff Owen purchased ELA Tokens on the secondary market.




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                 67.      On October 16, 2018, a supporter of Elastos tweeted and Defendant Han

         retweeted, “Elastos slow steady climb while everything is sideways. … Looking like it’s

         catching on. Has me thinking how I should have went all in at the $5-7 mark, not surprised.

         $ELA is the best project in crypto!”

                 68.      On November 6, 2018, an Elastos supporter tweeted, and Defendant Han

         retweeted, “I honestly feel @Elastos_org has now cleared out the moonboys, Riff Raff and

         people wanting a quick buck… Now we are left with a very strong community and support bade

         [sic] to bounce off… Real believers are left…”

                 69.      On November 10, 2018, Defendant Han retweeted a tweet by BBOD Research

         that included a link to a post on the BBOD Research Blog titled “Fundamental Pick: Elastos

         (ELA).” BBOD Research purports to “produce comprehensive, unbiased, evidence-based

         research and reports on crypto-coins and blockchain technology.” The post included BBOD’s

         rating for ELA Tokens, information about the availability of ELA Tokens on the secondary

         market including the total supply of ELA Tokens, a partial list of exchanges on which ELA

         Tokens could be purchased, and information about the Elastos platform. BBOD rated ELA

         Tokens as a “SPEC BUY,” which it defined as, “A speculative opportunity for investors with a

         higher risk tolerance.”

                 70.      On November 21, 2018, a supporter of Elastos tweeted, and Defendant Han

         retweeted, “Best website in crypto no doubt. … And it’s going for $3? Feel like a kid holding out

         the bag for trick or treating.”

                       E. ELA Tokens Are Securities

                 71.      ELA Tokens are securities under U.S. law, legal precedent, and SEC guidelines.




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                 72.      Under 15 U.S.C. § 77b, the definition of a “security” includes an “investment

         contract.”

                 73.      The seminal Supreme Court case S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946)

         established a four part test for determining the existence of an investment contract. The four part

         test requires:

                 (1) An investment of money;

                 (2) In a common enterprise;

                 (3) With the expectation of profits;

                 (4) Solely from the efforts of others.

         Id. at 298-99.

                 74.      The SEC has endorsed and utilized the Howey test to determine whether certain

         cryptocurrencies are securities in recent enforcement actions and in recent investor bulletins

         disseminated to the public.

                 75.      The Elastos Tokens satisfy the Howey test and are investment contracts for the

         reasons stated below.

                          1)     The Class Invested Money

                 76.      Plaintiffs and all members of the Class paid either Bitcoin or NEO cryptocurrency

         to purchase their ELA Tokens from Defendants during the ICO. On the secondary market,

         investors paid for ELA Tokens with at least Bitcoin, Ethereum, or cash. Such investments are

         the type of contribution of value that creates an investment contract. The investment of “money”

         need not take the form of cash.




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                        2)      In a Common Enterprise

                77.     Defendants have acknowledged that investors who purchased ELA Tokens were

         participating in a common enterprise, as all funds raised would be pooled under the control of the

         Defendants. According to the January 1, 2018 ICO White Paper, “The investor community is the

         backbone of Elastos, and it will support and facilitate Elastos development. All the raised

         cryptocurrency will belong to the Elastos Foundation, and it will be used to develop the

         Elastos platform” (emphasis added).

                78.     Additionally, the fortunes of each investor was, and continues to be, tied to

         Defendants’ ability to use the funds raised from investors to successfully develop and launch the

         Elastos platform. Indeed, the value of ELA Tokens are expected to rise upon the successful

         development and launch of the Elastos platform. Relatedly, the value of ELA Tokens is also

         dependent upon, and is expected to rise with, the adoption of the platform by consumers,

         entrepreneurs, and the business community. The failure by Defendants to successfully develop

         or launch the Elastos platform, or an inability to attract users to the platform, would ultimately

         render the ELA Tokens worthless.

                        3)      Investors Had an Expectation of Profit

                79.     Through their words and actions, Defendants led potential investors in the Elastos

         ICO to expect a profit from the purchase of ELA Tokens. Defendants repeatedly referred to

         purchasers of ELA Tokens as “investors.” Elastos also made it clear that it would “issue a

         scarce amount of tokens,” a total of 33 million, and led potential investors to believe that ELA

         Tokens would be the exclusive form of currency on the Elastos platform, where users would be

         able to “generate wealth” by buying and selling digital assets. Therefore, it is logical that




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         potential investors believed that the development and growth of the Elastos platform would

         create additional demand for ELA Tokens and increase their value.

                 80.    In fact, in the December 27, 2017 “Frequently Asked Questions” post, Elastos

         pegged the Elastos ICO pricing to heavy demand for ELA Tokens. Responding to the comment,

         “This is the most expensive token sale price I have ever heard,” Elastos told potential investors,

         “[W]e feel this is a responsible valuation based on current market demand for our upcoming

         token sale.” “Sale price,” “valuation,” “market,” and “demand” are all functional hallmarks of

         securities.

                 81.    Defendant Chen has explained the direct relationship between the successful

         development of the Elastos platform and the market price of the ELA Token. On April 2, 2018,

         Elastos posted a March 19, 2018, “Q&A” involving Defendant Chen on the Company’s

         Medium.com page. Defendant Chen addressed the market price of ELA Tokens and implied that

         their value would increase as more progress was made on the platform – which is equivalent to

         companies publicly promoting their future growth and concomitant rise in share value.

         Specifically, he stated:

                 The recent decline in the currency price was actually due in large part to its rapid
                 rise. Everyone knows that there are more than a thousand kinds of Tokens, but
                 those with real technology or high traffic are few and far between…. As for the
                 currency price of Elastos, I basically do not look at it. I do not look at other coin
                 prices either. Out of sight out of mind. Our progress in the project has been
                 relatively smooth, so I think we can get through the winter. Winter has come and
                 many ICOs have returned to normal.

                 82.    Defendants also encouraged investors to focus on the profit potential of ELA

         Tokens by seeking to have ELA Tokens listed on cryptocurrency exchanges in order to reach

         more investors in the United States and make their efforts and successes known to potential

         investors.



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                83.     Finally, Defendants developed a token lock-in program (similar to lock-ups in

         initial public offerings) in which investors could earn additional ELA Tokens by simply agreeing

         not to sell a committed portion of their tokens for a predetermined period of time. On or around

         February 14, 2018, Elastos ICO investors were given the opportunity to “lock-in” their ELA

         Tokens for up to three years in exchange for additional ELA Tokens at a rate of 4% of their total

         locked in tokens for the first year, 5% for the second year, and 6% for the third year. Investors

         that locked in tokens had additional expectations of profit in the form of the ELA Tokens they

         would earn through the lock-in.

                84.     On October 24, 2018, Elastos announced the end of its lock-in program. In a

         letter by Chen to the Elastos “Community,” titled “Modification to Token Lock-in and Return

         Program,” he said, “[b]eginning today, lock-in ELA holders will receive an official

         communication from the Elastos Foundation regarding the coin return mechanism. As further

         described in that communication, all locked up coins, including a 4% bonus, will be returned to

         lock-in ELA holders on November 5th, 4am UTC. ELA coins will also be returned to angel

         investors on November 20th, 4am UTC” (the “Lock-In Sale”).

                85.     The “Lock-In Sale” constituted an offer and sale of unregistered securities.

                86.     Chen also added in the letter the following:

                As a matter of openness, honesty and transparency, I would like to explain how we
                reached this decision. First, it is our understanding that in order to be fully
                compliant for expansion into Western markets, it is critical that these coins be
                unlocked. If Elastos is to succeed as an international project, compliance with
                Western laws is paramount. When we launched this lock up program, it was not
                clear to us that these types of programs could be seen as out of sync with
                compliance. Now that we have been informed that the continuation of this program
                may cause compliance risk, we feel strongly that this modification is in the best
                interest of Elastos’ long term success.




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                         4)     Investors’ Realization of Profit is Dependent on the Efforts of the
                                Defendants

                87.      ELA investors’ profits, if any, will derive from Defendants’ managerial efforts.

         Defendants have sole control over the money that they raised through the ICO and the

         management of those funds in connection with the Elastos platform. Plaintiffs and members of

         the Class have had no input into how the funds raised in the ICO would be allocated or how they

         actually were, and are, being spent.

                88.      When Plaintiffs and members of the Class invested in ELA Tokens, the Elastos

         platform had not launched for public use. In fact, it still has not launched. As a result, the ELA

         Tokens have never had any functionality or utility. Plaintiffs and members of the Class had

         no power to bring about the implementation of the Elastos platform. Indeed, they relied, and still

         rely, on Defendants’ managerial and entrepreneurial efforts to make Elastos fully available to the

         public, as promised.

                89.      Plaintiffs and members of the Class also relied, and still rely, on Defendants to:

         (a) market the Elastos ICO and generate publicity by posting on social media and other outlets;

         (b) attract additional investors and Elastos users; and (c) continue to raise the necessary funding

         to finance the Elastos project.

                90.      Investors are also forced to rely on Defendants to maintain the ELA token listing

         on the various cryptocurrency exchanges that allow for active trading.

                      F. The SEC Has Cracked Down on Unregistered ICOs

                91.      Beginning in mid-2017, the SEC has proceeded to methodically bring

         enforcement actions against companies that conduct unregistered ICOs. On July 25, 2017, the




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         SEC published a 21A investigative report into The DAO, an organization that issued and sold

         cryptocurrency (the “DAO Report”). 1 According to the DAO Report:

                 The DAO was created … with the objective of operating as a for-profit entity that
                 would create and hold a corpus of assets through the sale of DAO Tokens to
                 investors, which assets would then be used to fund “projects.” The holders of DAO
                 Tokens stood to share in the anticipated earnings from these projects as a return on
                 their investment in DAO Tokens. In addition, DAO Token holders could monetize
                 their investments in DAO Tokens by re-selling DAO Tokens on a number of web-
                 based platforms (“Platforms”) that supported secondary trading in the DAO
                 Tokens.

                 92.     The DAO ICO raised approximately $150 million in Ethereum-based

         cryptocurrency. After the ICO, investors were allowed to sell their tokens freely on

         cryptocurrency exchanges. Subsequent to the ICO, The DAO was hacked and approximately

         one-third of its funds were stolen.

                 93.     The SEC’s investigation and its final report addressed the question of whether the

         DAO tokens should be classified as securities. The SEC applied the Howey test and determined

         the tokens were investment contracts, and therefore were securities that should have been

         registered under the Securities Act.

                 94.     In the DAO Report, the SEC stated, “the U.S. federal securities law may apply to

         various activities, including distributed ledger technology, depending on the particular facts and

         circumstances, without regard to the form of the organization or technology used to effectuate a

         particular offer or sale.”

                 95.     On September 25, 2017, the SEC announced a new Cyber Unit in its Enforcement

         Division with a mandate to “address cyber-based threats and protect retail investors.” Among




         1
          Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
         DAO, Exchange Act Release No. 81207, 2017 WL 7184670, (July 25, 2017),
         https://www.sec.gov/litigation/investreport/34-81207.pdf.
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         the items the new Cyber Unit was to focus on was, “[v]iolations involving distributed ledger

         technology and initial coin offerings.”

                   96.     The Cyber Unit has brought actions against companies for failing to register

         ICOs. For example, in December 2017, the SEC charged the California-based company

         Munchee Inc. with selling unregistered tokens in an ICO relating to purported blockchain-based

         food review service. In its press release announcing the action, the SEC stated, “[w]e will

         continue to scrutinize the market vigilantly for improper offerings that seek to sell securities to

         the general public without the required registration or exemption.” Munchee immediately halted

         its ICO and returned all proceeds before issuing any tokens.

                97.        On December 11, 2017, SEC Chairman Jay Clayton issued a Public Statement

         titled Statement on Cryptocurrencies and Initial Coin Offerings 2 that addressed the application of

         U.S. securities laws to ICOs and attempts by companies to skirt the securities laws:

                Following the issuance of the [DAO Report], certain market professionals have
                attempted to highlight utility characteristics of their proposed initial coin offerings
                in an effort to claim that their proposed tokens or coins are not securities. Many of
                these assertions appear to elevate form over substance. Merely calling a token a
                “utility” token or structuring it to provide some utility does not prevent the token
                from being a security. Tokens and offerings that incorporate features and marketing
                efforts that emphasize the potential for profits based on the entrepreneurial or
                managerial efforts of others continue to contain the hall marks of a security under
                U.S. Law.

              V.         CLASS ACTION ALLEGATIONS

                98.        Plaintiffs seek certification of the following Class:

                All persons or entities who purchased or acquired Elastos Tokens in domestic transactions
                in the Elastos ICO, the Lock-In Sale, or the secondary market.

                Excluded from the Class are Defendants and their immediate family members, subsidiaries,
                affiliates, employees, officers, agents, and directors. Also excluded from the Class are any
                and all exchanges that traded or currently trade the ELA Tokens including, but not limited
         2
          Statement on Cryptocurrencies and Initial Coin Offerings, SEC Chairman Jay Clayton, (Dec.
         11, 2017), https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11.
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                to, Huobi Exchange, KuCoin, LBank, Hadax, Bit-Z, and Netcoins, and any subsidiaries,
                affiliates or U.S. counterparts thereof.

                99.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

         Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

         would be used to prove those elements in individual actions alleging the same claims.

                100.    The members of the Class are so numerous that joinder of all members is

         impracticable. On information and belief, there are at least thousands of Class members. The

         precise number or identification of members of the Class is presently unknown to Plaintiffs, but

         may be ascertained from Defendants’ books and records. Class members may be notified of the

         pendency of this action by mail, email, internet postings, and/or publication.

                101.    Common questions of law and fact exist as to all members of the Class, which

         predominate over any questions affecting only individual members of the Class. These common

         questions of law or fact include, but are not limited to the following:

                a) whether Defendants offered and sold unregistered securities, in violation of federal
                   securities laws, to Plaintiffs and the Class in the Elastos ICO, the Lock-In Sale and on
                   the secondary market;

                b) whether the Elastos Tokens are securities;

                c) whether the Class is entitled to compensatory and/or rescissory relief as a result of
                   Defendants’ wrongful conduct as alleged herein.

                102.    Defendants engaged in a common course of conduct giving rise to the legal rights

         sought to be enforced by Plaintiffs, on behalf of themselves and the other members of the Class.

         Similar or identical statutory law violations and injuries are involved. Individual questions, if

         any, pale by comparison, in both quality and quantity, to the numerous common questions that

         dominate this action.




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                  103.   Plaintiffs’ claims are typical of the claims of the other members of the Class

         because, among other things, all such claims arise out of the same wrongful course of conduct

         engaged in by Defendants in violation of the federal securities laws as complained of herein.

         Further, the damages of each member of the Class were caused directly by Defendants’ wrongful

         conduct in violation of the federal securities laws as alleged herein.

                  104.   Plaintiffs are adequate Class representatives because they are members of the

         Class and their interests do not conflict with the interests of the other members of the Class they

         seek to represent. Plaintiffs have also retained counsel competent and experienced in complex

         class action litigation. Plaintiffs and their counsel intend to prosecute this action vigorously for

         the benefit of all members of the Class. Accordingly, the interests of the members of the Class

         will be fairly and adequately protected by Plaintiffs and their counsel.

                  105.   A class action is superior to any other available means for the fair and efficient

         adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

         management of this class action. The damages and other financial detriment suffered by

         Plaintiffs and the members of the Class are relatively small compared to the burden and expense

         that would be required to individually litigate their claims against Defendants. As such, it would

         be impracticable for members of the Class to individually seek redress for Defendants’ wrongful

         conduct. Even if Class members could afford individual litigation, that would pose an undue

         burden on the courts. And individualized litigation creates a potential for inconsistent or

         contradictory judgments and increases the delay and expense to all parties and the courts. By

         contrast, the class action device presents far fewer management difficulties, and provides

         benefits of single adjudication, economy of scale, and comprehensive supervision by a single

         court.



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             VI.      CLAIMS FOR RELIEF

                                                      COUNT I
                                 Violations of §§ 5 and 12(a)(1) of the Securities Act
                                               Against All Defendants

                   106.   Plaintiffs repeat and re-allege each and every allegation above as if set forth

         herein.

                   107.   Section 5(a) of the Securities Act prohibits the direct or indirect use of any means

         or instruments of transportation or communication in interstate commerce or of the mails to sell

         securities through the use or medium of any prospectuses or otherwise; or to carry or cause to be

         carried through the mails or in interstate commerce, by any means or instrument of

         transportation, any security for the purpose of sale or for delivery after sale, unless a registration

         statement is in effect as to such a security.

                   108.   Section 5(c) of the Securities Act makes it unlawful for any person to directly or

         indirectly make use of any means or instruments of transportation or communication in interstate

         commerce or of the mails to offer to sell or buy through the use or medium of any prospectus or

         otherwise any security, unless a registration has been filed as to such security.

                   109.   Section 12(a)(1) of the Securities Act grants Plaintiffs and the Class a private

         right of action against any person who offers or sells a security in violation of § 5, and states that

         such person:

                   Shall be liable . . . to the person purchasing such security from him, who may sue
                   either at law or in equity in any court of competent jurisdiction, to recover
                   consideration for such security with interest thereon, less the amount of any income
                   received thereon, upon the tender of such security, or for damages if he no longer
                   owns the security.

         15 U.S.C. § 77l(a)(2).




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                    110.   In connection with the sale of unregistered ELA Tokens through the Elastos ICO,

         the Lock-In Sale, and the secondary market, Defendants unlawfully made use of means or

         instruments of transportation or communication in interstate commerce or of the mails for the

         purpose of offering, selling, or delivering unregistered securities in direct violation of §§ 5(a),

         5(c), and 12(a)(1) of the Securities Act.

                    111.   Defendants are “sellers” and “offerors” within the meaning of the Securities Act

         because Defendants sold ELA Tokens in the Elastos ICO and Lock-In Sale to Plaintiffs and the

         Class, and offered and solicited Plaintiffs and the Class to invest in ELA Tokens in the Elastos

         ICO, Lock-In Sale, and in the secondary market.

                    112.   The sales of ELA Tokens constituted sales of unregistered securities under

         controlling federal law. ELA Tokens exhibit the following hallmarks of a security under the test

         articulated in SEC v. W.J. Howey Co., 328 U.S. 293 (1946): (a) in order to receive any ELA

         Tokens, an investment of money in the form of a cryptocurrency was required; (b) the

         investment of money was made into the common enterprise that is ELA and the potential future

         ELA platform; c) there was an expectation of returns on the investment; and d) the potential

         returns depended on Defendants’ ability to launch and grow the Elastos platform.

                    113.   The Elastos platform is both a horizontal common enterprise because ELA

         investments were pooled and under the control of Defendants, and a vertical common enterprise

         because any profits investors may receive from the investments are dependent on Defendants’

         efforts.

                    114.   To purchase ELA Tokens, Elastos ICO investors paid either Bitcoins or NEO

         cryptocurrency into Defendants’ online account – a common pool of funds that commingled each




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         investor’s investment. Investors who purchased ELA Tokens on the secondary market paid

         Bitcoins, Ethereum, or cash to cryptocurrency exchanges.

                115.    Defendants told Elastos ICO investors that their assets would be pooled together

         and all of the funds initially raised would be invested in the company and the development of the

         Elastos platform. The ICO Whitepaper states that “All the raised cryptocurrency will belong to

         the Elastos Foundation, and it will be used to develop the Elastos platform. The Bitcoin

         proceeds will go to the Elastos Foundation.” Defendants had, and continue to have, sole and

         exclusive control over the allocation and use of the funds raised in the Elastos ICO.

                116.    Profits among the investors are also expected to be divided proportionately. The

         number of ELA Tokens purchased by investors was dependent upon the size of an investment

         and the price paid. An investor’s return on an Elastos ICO investment – potential profits

         stemming from the future valuation of ELA Tokens – is directly proportional to the amount of an

         investor’s financial stake and the number of ELA Tokens owned.

                117.    Defendants offered or sold the ELA Tokens to the Plaintiffs and the Class.

         Plaintiff Wandling purchased ELA Tokens from Defendants pursuant to the ICO and Plaintiff

         Owen purchased ELA Tokens based on Defendants offers and solicitations to buy.

                118.    No registration statements have been filed with the SEC or have been in effect

         with respect to the sale of ELA Tokens alleged herein. The sale of ELA Tokens was not a

         transaction exempt from the registration requirements of the Securities Act. By reason of the

         foregoing, Defendants have violated §§ 5(a), 5(c), and 12(a)(1) of the Securities Act.

                119.    As a direct and proximate result of Defendants’ unregistered sale of securities in

         violation of the Securities Act, Plaintiffs and Class members have suffered damages in




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         connection with their purchases or acquisitions of ELA Tokens in the Elastos ICO, Lock-In Sale,

         and on the secondary market.

                   120.   Defendants are liable to Plaintiffs and the Class pursuant to the Securities Act for

         compensatory and equitable relief, including rescission, together with pre- and post-judgment

         interest, reasonable attorneys’ and experts’ fees and costs of suit.

                                                     COUNT II
                                       Violations of § 15 of the Securities Act
                                     Against Defendants Chen, Han, Li, and Lee

                   121.   Plaintiffs repeat and re-allege each and every allegation above as if set forth

         herein.

                   122.   Section 15 of the Securities Act provides for joint and several liability for

         “controlling persons” who had sufficient power or influence over an entity that violated federal

         securities laws:

                   Every person who, by or through stock ownership, agency, or otherwise, or who,
                   pursuant to or in connection with an agreement or understanding with one or more
                   other persons by or through stock ownership, agency, or otherwise, controls any
                   person liable under section 77k or 77l of this title, shall also be liable jointly and
                   severally with and to the same extent as such controlled person to any person to
                   whom such controlled person is liable, unless the controlling person had no
                   knowledge of or reasonable ground to believe in the existence of the facts by reason
                   of which the liability of the controlled person is alleged to exist.

         15 U.S.C. § 77o.

                   123.   Defendant Chen is subject to liability by virtue of his top-level executive position

         with Elastos and his significant influence and supervisory authority over Elastos. Chen is a Co-

         Founder and Executive Chairman of Elastos, which provided him the power to control or

         influence the company’s actions. Chen developed the Elastos technology and was responsible

         for its continued technical development. At all relevant times, Chen has given numerous

         interviews and made public statements promoting the Elastos ICO and the Elastos platform. As

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         a controlling person of Elastos, Chen knew of and actively participated in the Elastos ICO and

         the sale of unregistered securities in direct violation of the Securities Act.

                124.    Defendant Chen had the power to influence and control, and did influence and

         control, directly or indirectly, Defendant Elastos’s conduct in offering the Elastos Tokens for

         sale in the Elastos ICO, resulting in the violation of the federal securities laws. Chen is a

         culpable participant in the Elastos ICO alleged herein and caused Elastos to engage in the acts

         which give rise to liability under §§ 5 and 12(a)(1) of the Securities Act. Accordingly, Chen is a

         “controlling person” of Elastos within the meaning of § 15 of the Securities Act.

                125.    Similarly, Defendant Han is subject to liability by virtue of his top-level executive

         position with Elastos and his significant influence and supervisory authority over Elastos. Han is

         a Co-Founder of Elastos, the Chief Executive Officer, and a Board Member, which provided him

         the power to control or influence Elastos’s actions. He is responsible for Elastos’s operations

         and business management, including its interactions with Plaintiffs and Class members. At all

         relevant times, Han has given numerous interviews and made public statements promoting the

         Elastos ICO and the Elastos platform. As a controlling person of Elastos, Han knew of and

         actively participated in the Elastos ICO and the sale of unregistered securities in direct violation

         of the Securities Act.

                126.    Defendant Han had the power to influence and control, and did influence and

         control, directly or indirectly Defendant Elastos’s conduct offering the ELA Tokens for sale in

         the Elastos ICO, resulting in violation of the federal securities laws. Han is a culpable

         participant in the Elastos ICO alleged herein and caused Elastos to engage in the acts which give

         rise to liability under §§ 5 and 12(a)(1) of the Securities Act. Accordingly, Han is a “controlling

         person” of Elastos within the meaning of § 15 of the Securities Act.



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                127.    Defendant Li is subject to liability by virtue of her top-level executive position

         with Elastos and her significant influence and supervisory authority over Elastos. Li served as

         the Chief Marketing Officer of Elastos, which provided her the power to control or influence

         Elastos’s actions. She was responsible for commercial strategy and the marketing and

         advertising of the Elastos ICO and the Elastos platform to Plaintiffs and Class members. At all

         relevant times, Li made numerous public statements promoting the Elastos ICO and the Elastos

         platform. As a controlling person of Elastos, Li knew of and actively participated in the Elastos

         ICO and the sale of unregistered securities in direct violation of the Securities Act.

                128.    Defendant Li had the power to influence and control, and did influence and

         control, directly or indirectly, Defendant Elastos’s conduct in offering the ELA Token for sale in

         the Elastos ICO, resulting in the violation of federal securities laws. Li was a culpable

         participant in the Elastos ICO alleged herein and caused Elastos to engage in the acts which give

         rise to liability under §§ 5 and 12(a)(1) of the Securities Act. Accordingly, Li is a “controlling

         person” of Elastos within the meaning of § 15 of the Securities Act.

                129.    Defendant Lee is subject to liability by virtue of his top-level executive position

         with Elastos and his significant influence and supervisory authority over Elastos. Lee serves as

         the Chief Operating Officer and a Board Member of Elastos, which provided him the power to

         control or influence Elastos’s actions. He is responsible for the company’s day-to-day

         operations. As a controlling person of Elastos, Lee knew of and actively participated in the

         Elastos ICO and the sale of unregistered securities in direct violation of the Securities Act.

                130.    Defendant Lee had the power to influence and control, and did influence and

         control, directly or indirectly, Defendant Elastos’s conduct in offering the ELA Tokens for sale

         in the Elastos ICO, resulting in violation of the federal securities laws. Lee is a culpable



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         participant in the Elastos ICO alleged herein and caused Elastos to engage in the acts which give

         rise to liability under §§ 5 and 12(a)(1) of the Securities Act. Accordingly, Lee is a “controlling

         person” of Elastos within the meaning of § 15 of the Securities Act.

                131.    Plaintiffs and Class members have suffered damages as a result of Defendants

         Chen, Han, Li, and Lee’s individual roles as a “controlling person” in Elastos’s violations of §§ 5

         and 12(a)(1) of the Securities Act.

                       VII.     PRAYER FOR RELIEF

                WHEREFORE, Plaintiffs, individually and on behalf of other members of the Class,

         respectfully request that the Court enter judgment and relief as follows:

                    A. Declaring this action is a proper class action, certifying the Class as requested
                       herein, designating Plaintiffs as Class Representatives, and appointing the
                       undersigned counsel as Class Counsel for the Class;

                    B. Declaring the ELA Tokens a security under the federal securities laws;

                    C. Declaring that Defendants offered and sold unregistered securities in violation of
                       the federal securities laws;

                    D. Declaring that Defendants are liable to Plaintiffs and the Class under §§ 5, 12(a)(1)
                       and 15 of the Securities Act;

                    E. Ordering rescission of the investments made by Plaintiffs and the Class in ELA
                       Tokens;

                    F. Awarding Plaintiffs the costs of this action, including reasonable allowance for
                       attorneys’ fees and litigation costs and expenses;

                    G. Leave to amend this Complaint to conform to the evidence presented at trial; and

                    H. Ordering such other and further relief as may be just and proper.




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           VIII.   JURY DEMAND

                      Plaintiffs respectfully request a trial by jury of all issues so triable.

         Dated: May 28, 2019

                                                              Respectfully submitted,


                                                                 /s/ Warren A. Raiti

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